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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS (Kansas City)


UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
                     v.                   )                    Case No. 04-CR-20044-06-KHV
                                          )
MARK MANUEL MCGEE,                        )
      a/k/a “Smooth”                      )
                                          )
                        Defendant.        )
__________________________________________)

            AGREED ORDER FOR PRODUCTION OF DOCUMENTS AND FOR
                        PRESERVATION OF EVIDENCE

       NOW on this 8th day of July, 2005, the above-entitled matter comes regularly on before

the court on the defendant’s motion for an order directing the government and/or the staff of the

CCA facility at Leavenworth, Kansas to provide counsel for the defendant with the following:

       1.      All audio recordings of all telephone calls made by Pamela Tyler from the CCA

facility at Leavenworth, Kansas to any other person or persons including but not limited to;

Marquita Tellis and Bradley McGee during the month of September 2004.

       The Government appears by Assistant United States Attorney Scott Rask and the

defendant, Mark McGee, appears by and through his court-appointed attorney, Mark L. Bennett,

Jr.

       THEREUPON the court after being well and duly advised in the premises and after

considering the statements set forth in the motion filed herein and after being advised that the

Government has no objection to the motion or the entry of this order finds that said motion

should be and is hereby sustained.
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        IT IS THEREFORE CONSIDERED, ORDERED, ADJUDGED AND DECREED

that the Government and/or the staff at the CCA facility at Leavenworth, Kansas shall forthwith

produce for defendant’s counsel, Mark L. Bennett, Jr., copies of the following:

        1.      All audio recordings of all telephone calls made by Pamela Tyler from the CCA

facility at Leavenworth, Kansas to any other person or persons including but not limited to;

Marquita Tellis and Bradley McGee during the month of September 2004.

        IT IS FURTHER BY THE COURT CONSIDERED, ORDERED, ADJUDGED

AND DECREED that the staff at the CCA facility at Leavenworth, Kansas shall take whatever

steps are necessary in order to preserve any and all other phone calls made by either Andre

Lamar Ivory, Pamela Tyler, Chaconie Edwards, Kimberly Sanders, Valeria Cheek and/or Kyle

Creighton from the CCA facility at Leavenworth, Kansas to any other person or persons during

the entire time that each of them have been incarcerated at said facility.

        IT IS SO ORDERED.

                                                          s/ Kathryn H. Vratil
                                                          Kathryn H. Vratil
                                                          United States District Judge

PREPARED AND APPROVED BY:

/s Mark L. Bennett, Jr.
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